
COBB, W.H., Senior Judge,
dissenting:
While I do not disagree with the legal precepts set forth in the majority opinion, I do not see that oversight by the Department can afford the mother any realistic protection from her homicidal husband beyond that which she has already procured from the court, ie., a permanent injunction.6 The prospect of additional protection via “anger management” counseling strikes me as naive.
There is no reason to impose the intrusions of the Department upon the mother’s life against her wishes. Based upon the record before us, she is blameless, and the lower court has so determined. I would affirm.

. The injunction, as additional protection for the mother and children, is in effect until further order of the court and its terms "may not be changed by either party alone or by both parties together.”

